Case 1:18-mj-00163-DML Document 28 Filed 02/27/18 Page 1 of 2 PageID #: 79



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


UNITED STATES OF AMERICA,                      )
          Plaintiff,                           )
                                               )
       vs.                                     )   CAUSE NO. 1:18-mj-0163
                                               )
WILLIAM BOBO,                                  )                     - 02
MICHAEL GRAHAM,                                )                     - 03
ALAN WANN,                                     )                     - 04
RICKY WILBURN,                                 )                     - 06
HENRY PHILLIPS,                                )                     - 07
          Defendants.                          )



              COURTROOM MINUTE FOR FEBRUARY 26, 2018
         HONORABLE DEBRA MCVICKER LYNCH, MAGISTRATE JUDGE

       Parties appear for an initial appearance on the Complaint filed on February 22, 2018.

Defendants appeared in person and by FCD counsel Gwendolyn Beitz. Government

represented by AUSA Matt Lasher. USPO represented by Danieka Thompkins.

       Financial affidavits approved for Defendants Bobo, Graham, Wann, Wilburn, and

Phillips. Counsel appointed.

       Charges, rights and penalties were reviewed and explained. Defendants Bobo, Graham,

Wann, Wilburn, and Phillips waived reading of the complaint.

       Government orally moved for pretrial detention of Defendants Bobo, Graham, Wann,

Wilburn, and Phillips and a hearing was scheduled. Preliminary and detention hearing set for

March 5, 2018 at 2:00 p.m. in courtroom 243.
Case 1:18-mj-00163-DML Document 28 Filed 02/27/18 Page 2 of 2 PageID #: 80




       Government moved to unseal this cause of action as to all defendants and the same

granted.

       Defendants Bobo, Graham, Wann, Wilburn, and Phillips remanded to the custody of the

U.S. Marshals pending further proceedings before the Court.




        Date:   2/27/18                        ____________________________________
                                                  Debra McVicker Lynch
                                                  United States Magistrate Judge
                                                  Southern District of Indiana




Distribution:

all ECF-registered counsel of record via email generated by the court’s ECF system
